Case No. 1:24-cv-00968-GPG-STV   Document 11   filed 04/26/24   USDC Colorado
                                  pg 1 of 5
Case No. 1:24-cv-00968-GPG-STV   Document 11   filed 04/26/24   USDC Colorado
                                  pg 2 of 5
Case No. 1:24-cv-00968-GPG-STV   Document 11   filed 04/26/24   USDC Colorado
                                  pg 3 of 5
Case No. 1:24-cv-00968-GPG-STV   Document 11   filed 04/26/24   USDC Colorado
                                  pg 4 of 5
Case No. 1:24-cv-00968-GPG-STV   Document 11   filed 04/26/24   USDC Colorado
                                  pg 5 of 5
